      Case 1-19-43516-ess             Doc 145
                                          144       Filed 06/15/21
                                                          06/14/21   Entered 06/15/21 08:36:38
                                                                                      08:32:08




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re                                                      Case No. 19-43516-ess

MICHAEL KRICHEVSKY,                                        Chapter 11

                                   Debtor.

------------------------------------------------------x

ORDER DENYING THE DEBTOR’S CROSS-MOTION FOR SANCTIONS PURSUANT
 TO BANKRUPTCY RULE 9011 AND FEDERAL RULE OF CIVIL PROCEDURE 11

Background

        WHEREAS, on June 6, 2019, Michael Krichevsky (the “Debtor”) filed a petition for

relief under Chapter 13 of the Bankruptcy Code; and

        WHEREAS, on October 8, 2019, the Court entered an order converting the Debtor’s case

to one under Chapter 11 of the Bankruptcy Code; and

        WHEREAS, on August 15, 2019, Wells Fargo, N.A. (“Wells Fargo”), as servicing agent

for U.S. Bank, N.A. (“U.S. Bank”), filed a proof of claim in the amount of $1,098,754.69

secured against real property located at 4221 Atlantic Avenue, Brooklyn, NY 11224 (the

“Property”) on behalf of U.S. Bank, as Trustee for Banc of America Funding Corporation

Mortgage Pass-Through Certificates, Series 2006-F (the “Proof of Claim”); and

        WHEREAS, on March 17, 2020, Wells Fargo filed a motion for stay relief with respect to

the Property (the “Motion for Stay Relief”); and

        WHEREAS, on May 21, 2020, Wells Fargo filed an amended proof of claim (the

“Amended Proof of Claim”); and

        WHEREAS, on May 21, 2021, the Debtor filed a cross-motion for an award of sanctions

against U.S. Bank, Wells Fargo, Natsayi Mawere, Esq., and Reed Smith LLP (“Reed Smith”) for

violations of Bankruptcy Rule 9011 and Federal Rule of Civil Procedure 11 (the “Cross-Motion
     Case 1-19-43516-ess        Doc 145
                                    144     Filed 06/15/21
                                                  06/14/21     Entered 06/15/21 08:36:38
                                                                                08:32:08




for Sanctions”) on grounds, among others, that the Amended Proof of Claim and the Stay Relief

Motion, contain claims, factual contentions and allegations which have no evidentiary support

and have not been specifically identified to have evidentiary support after a reasonable

opportunity for further investigation or discovery; and

       WHEREAS, on May 21, 2021, the Debtor filed a certificate of service stating, among

other things, that he personally served the Cross-Motion for Sanctions on Ms. Mawere at her

residence on April 28, 2021; and

       WHEREAS, based on the entire record, it does not appear the Debtor served the Cross-

Motion for Sanctions upon any other party; and

       WHEREAS, on May 25, 2021, Ms. Mawere filed a declaration, on behalf of herself and

Reed Smith, in opposition to the Cross-Motion for Sanctions on grounds, among others, that the

Debtor did not properly serve the Cross-Motion for Sanctions, and that the Amended Proof of

Claim and the Motion for Stay Relief do not violate Bankruptcy Rule 9011 and Federal Rule of

Civil Procedure 11; and

       WHEREAS, on May 28, 2021, the Court held a hearing on the Cross-Motion for

Sanctions, at which the United States Trustee, the Debtor, Wells Fargo, U.S. Bank, Wells Fargo

Home Mortgage, Kelly Duncan, Stephanie Terese Tautge, Daniel V. Edward, Banc of America

Funding Corporation, Charice Lenise Gladden, Woods Oviatt Gilman, LLP, Donald W. O’Brien,

Jr., Esq., Aleksandra K. Fugate, Brittany J. Maxon, Esq., David Bruce Wildermuth, Esq.,

Brettanie L. Hart Saxton, Esq., Victoria E. Munian, Esq., Michael Thomas Jablonski, Esq.,

Miranda L. Sharlette a/k/a Miranda Jakubec, Esq., Frenkel Lambert Weiss Weisman & Gordon,

LLP, Barry M. Weiss, Provest LLC, Woody Dorsonne, Reed Smith LLP, Natsayi Mawere, Esq.,

Jennifer L. Achilles, Esq., Steven J. Baum, P.C., Elpiniki M. Bechakas, Esq., Jeremiah Herberg,



                                                 2
     Case 1-19-43516-ess         Doc 145
                                     144      Filed 06/15/21
                                                    06/14/21     Entered 06/15/21 08:36:38
                                                                                  08:32:08




and Natalie A. Grigg, Esq. appeared and were heard, and the Court closed the record and

reserved decision; and

       WHEREAS, on June 4, 2021, the Debtor filed a supplemental certificate of service

stating that the Cross-Motion for Sanctions was mailed to Ms. Mawere’s personal home address

on May 28, 2021.

The Requirements for Service of a Motion for Sanctions Under Bankruptcy Rule 9011 and
Federal Rule of Civil Procedure 11

       WHEREAS, Bankruptcy Rule 9011(c)(1)(A) provides that “[motions for sanctions] shall

be served as provided in Rule 7004. The motion for sanctions may not be filed with or presented

to the court unless, within 21 days after service . . . the challenged paper, claim, defense,

contention, allegation, or denial is not withdrawn or appropriately corrected.” Fed. R. Bankr. P.

9011(c)(1)(A); and

       WHEREAS, Bankruptcy Rule 7004(a) provides that service “may be made by any person

at least 18 years of age who is not a party.” Fed. R. Bankr. P. 7004(a)(1) (emphasis added); and

       WHEREAS, a party seeking sanctions by motion shall provide service pursuant to

Bankruptcy Rule 7004 which may not be filed unless, within 21 days after service of the motion,

the challenged paper, claim, defense, contention, allegation, or denial is not withdrawn or

appropriately corrected. See Fed. R. Bankr. P. 9011(c)(1)(A); and

       WHEREAS, service of a Bankruptcy Rule 9011 motion may be made by any person who

is not a party. See Fed. R. Bankr. P. 9011(c)(1)(A); see Fed. R. Bankr. P. 7004(a); and

       WHEREAS, based on the entire record, the Debtor has not properly served U.S. Bank,

Wells Fargo, Ms. Mawere, or Reed Smith with the Cross-Motion for Sanctions.




                                                  3
     Case 1-19-43516-ess         Doc 145
                                     144      Filed 06/15/21
                                                    06/14/21      Entered 06/15/21 08:36:38
                                                                                   08:32:08




The Requirements for Representations to the Court Under Bankruptcy Rule 9011 and Federal
Rule of Civil Procedure 11

       WHEREAS, Bankruptcy Rule 9011(b) and Federal Rule of Civil Procedure 11(b) provide

that when “presenting to the Court (whether by signing, filing, submitting, or later advocating) a

petition, pleading, written motion, or other paper,” an attorney must certify that “(1) it is not

being presented for any improper purpose, such as to harass, cause unnecessary delay, or

needlessly increase the cost of litigation; (2) the claims, defenses, and other legal contentions

therein are warranted by existing law or by a nonfrivolous argument for extension, modification,

or reversal of existing law or the establishment of new law; (3) the allegations and other factual

contentions have evidentiary support or, if specifically so identified, are likely to have

evidentiary support after a reasonable opportunity for further investigation or discovery; and (4)

the denials of factual contentions are warranted on the evidence or, if specifically so identified,

are reasonably based on a lack of information or belief.” Fed. R. Bankr. P. 9011(b). See Fed. R.

Civ. P. 11(b); and

       WHEREAS, Bankruptcy Rule 9011(c)(1)(A) provides that a “motion for sanctions under

this rule . . . shall describe the specific conduct alleged to violate subdivision (b).” Fed. R.

Bankr. P. 9011(c)(1)(A); and

       WHEREAS, courts in the Second Circuit have held that “an attorney may not be

sanctioned if a reasonable factual basis for the claim existed at the time the attorney signed the

papers and ‘where an attorney has an objectively reasonable basis to pursue a factual claim.’” In

re Taub, 439 B.R. 276, 282 (Bankr. E.D.N.Y. 2010) (quoting Calloway v. Marvel Entm’t Grp.,

854 F.2d 1452, 1470 (2d Cir. 1988)); and

       WHEREAS, in order to succeed on a motion for sanctions under Bankruptcy Rule 9011,

the moving party must describe the specific conduct violating Rule 9011(b), which provides that


                                                  4
     Case 1-19-43516-ess        Doc 145
                                    144     Filed 06/15/21
                                                  06/14/21     Entered 06/15/21 08:36:38
                                                                                08:32:08




“[a petition, pleading, written motion, or other paper] is not being presented for any improper

purpose, such as to harass or to cause unnecessary delay or needless increase in the cost of

litigation;” Fed. R. Bankr. P. 9011(b)(1). See Fed. R. Bankr. P. 9011(c)(1)(A); and

       WHEREAS, based on the entire record, the Debtor has not described or shown specific

conduct showing that the Amended Proof of Claim was filed for “any improper purpose”; and

       WHEREAS, based on the entire record, the Debtor has not described or shown specific

conduct showing that the Motion for Stay Relief was filed for “any improper purpose”; and

       WHEREAS, in order to succeed on a motion for sanctions under Bankruptcy Rule 9011,

and alternatively, the moving party must describe the specific conduct violating Bankruptcy Rule

9011(b), which provides that “the claims, defenses, and other legal contentions therein are

warranted by existing law or by a nonfrivolous argument for the extension, modification, or

reversal of existing law or the establishment of new law;” Fed. R. Bankr. P. 9011(b)(2). See

Fed. R. Bankr. P. 9011(c)(1)(A); and

       WHEREAS, based on the entire record, the Debtor has not described or shown specific

conduct showing that the Amended Proof of Claim was not based on existing law or a

nonfrivolous argument for the extension, modification, or reversal of existing law or the

establishment of new law; and

       WHEREAS, based on the entire record, the Debtor has not described or shown specific

conduct showing that the Motion for Stay Relief was not based on existing law or a nonfrivolous

argument for the extension, modification, or reversal of existing law or the establishment of new

law; and

       WHEREAS, in order to succeed on a motion for sanctions under Bankruptcy Rule 9011,

and alternatively, the moving party must describe the specific conduct violating Bankruptcy Rule



                                                5
      Case 1-19-43516-ess        Doc 145
                                     144      Filed 06/15/21
                                                    06/14/21     Entered 06/15/21 08:36:38
                                                                                  08:32:08




9011(b) which provides that “the factual contentions have evidentiary support or, if specifically

so identified, are likely to have evidentiary support after a reasonable opportunity for further

investigation or discovery,” Fed. R. Bankr. P. 9011(b)(3). See Fed. R. Bankr. P. 9011(c)(1)(A);

and

       WHEREAS, based on the entire record, the Debtor has not described or shown specific

conduct showing that the Amended Proof of Claim contains factual contentions which do not

have evidentiary support or are likely not to have evidentiary support after a reasonable

opportunity for further investigation or discovery; and

       WHEREAS, based on the entire record, the Debtor has not described or shown specific

conduct showing that the Motion for Stay Relief contains factual contentions which do not have

evidentiary support or are likely not to have evidentiary support after a reasonable opportunity

for further investigation or discovery; and

       WHEREAS, in order to succeed on a motion for sanctions under Bankruptcy Rule 9011,

and alternatively, the moving party must describe the specific conduct violating Bankruptcy Rule

9011(b) which provides that “the denials of factual contentions are warranted on the evidence or,

if specifically so identified, are reasonably based on a lack of information or belief,” Fed. R.

Bankr. P. 9011(b)(4). See Fed. R. Bankr. P. 9011(c)(1)(A); and

       WHEREAS, based on the entire record, the Debtor has not described or shown specific

conduct showing that the Amended Proof of Claim contains denials of factual contentions which

were not warranted on the evidence or were not reasonably based on a lack of information or

belief; and




                                                 6
     Case 1-19-43516-ess          Doc 145
                                      144     Filed 06/15/21
                                                    06/14/21    Entered 06/15/21 08:36:38
                                                                                 08:32:08




          WHEREAS, based on the entire record, the Debtor has not described or shown specific

conduct showing that the Motion for Stay Relief contains factual contentions which were not

warranted on the evidence or were not reasonably based on a lack of information or belief; and

          WHEREAS, based on the entire record, the Debtor has not otherwise established a basis

for the relief that he seeks.

          NOW THEREFORE, it is hereby

          ORDERED, that for the reasons stated herein, and as set forth on the record of the May

28, 2021 hearing, and based on the entire record, the Debtor’s Cross-Motion for Sanctions is

denied.




                                                                 ____________________________
 Dated: Brooklyn, New York                                              Elizabeth S. Stong
        June 14, 2021                                            United States Bankruptcy Judge

                                                  7
      Case 1-19-43516-ess      Doc 145
                                   144     Filed 06/15/21
                                                 06/14/21   Entered 06/15/21 08:36:38
                                                                             08:32:08




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                                              8
